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UNITED STATES DISTRICT COURT
DISTRICT OF RHODE ISLAND

INRE; THE sTATIoN FIREIN _____ __ M.P.No.03-1326
WEST WARWICK, RHor)E lsLAND _- " ' *_;Ef»” di ___/-

oN FEBRUARY 20, 2003 "" ‘ 5?' ' ' i_ _ " .
McLaughlin & Moran, Ine., Anheuser-Busch, Inc. and Clear Channel

    

JOIN'I.‘ NOTICE FOR REMOVAL

Broadcasting, lnc. (the “Removing Parties”) by their undersigned attorneys, hereby give Notice
of Rernoval of this action to the United States District Court for the District of Rhode Island
pursuant to 28 U.S.C. § 1369, 28 U.S.C. § 144l(e), and 28 U.S.C. § 1446. In support thereof, the
Removing Parties state as follows: n
INTRO])UCTION

l. On November 2, 2002, Congress enacted the Multiparty, Multiforurn Trial
lurisdiction Act of 2002 (“MMTJA”) to expand the original jurisdiction of federal courts to
include mass disaster litigation that involved 75 or more deaths. Congress had learned li‘om
prior experience that traditional diversity jurisdiction could not provide a"‘just, speedy and
inexpensive” legal process in mass disaster cases. The additional jurisdiction is intended to
avoid conflicting and multiple filings in multiple state and federal courts and allow for
consolidation to the extent possible of the whole case in a single court, Where the same equal
justice can be applied to everyone as efficiently as possible.

2. On February 20, 2003, a pyrotechnic display set off by the band Great White
ignited a fire at The Station nightclub located in West Warwick, Rhode Island. The fire resulted

in the deaths of 100 people and allegedly injured many more.

 

 

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3. Within weeks, lawsuits Were filed in Rhode Island state court, Rhode Island
federal court and Connecticut federal court. The actions pending in this Court are assigned to the
Honorable Ronald R. Lagueux, who stayed all discovery and responsive pleadings on July 30,
2003, pending resolution of jurisdictional issues.' Many more suits are imminent

4. The actions already filed include many common defendants, including
McLaughlin & Moran, Anheuser-Busch, Inc. and Clear Channel Broadcasting, hic. (“Clear
Channel”). Many of the defendants named in suits to date _ including the band, its members, its
management and the fireworks supplier - are from out of state.

5. Three Miscellaneous Petitions (the “Miscellaneous Petitions”) have also been
filed in Providence County Superior Court. Two were filed on behalf of nrc victims from Rhode
Island and Ohio. One was filed on behalf of “unnamed defendants.” 2

6. These three Miscellaneous Petitions do not formally name any particular
defendants No third parties, including the Removing Parties, were served with summonses or
copies of the Petitions. The Rernoving Parties accordingly have not participated in these
Miscellaneous Petition proceedings

7. Initially, the Miscellaneous Petitions sought to collect and preserve evidence
from The Station tire site. That effort has concluded The evidence has been collected,

preserved and secured. Since then, however, at the request of petitioners, the Superior Court

 

l In accordance with Local Rule 31, a Notice of Pendency Of` Other Actions Or Proceedings is attached hereto as
Exhibit A.

2 A fourth miscellaneous petition was also filed in Providence County Superior Court on behalf of Renee C. Walton,
seeking initial inspectionl In Re Station Fire, M.P. No. 03-1401. That petition is not cited in the Superior Court’s
recent orders or in the subpoenas served on the Removing Parties. There are no filings beyond the petition, itself.
As that matter appears inactive, it has not been removed.

 

 

 

 

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issued decisions and orders that allow petitioners to go beyond the mere preservation of evidence
and instead take depositions and test evidence.

3. Various plaintiffs’ attorneys, on behalf of named and unnamed injured parties
who intend to file suits arising from The Station tire, have sought and obtained orders respecting
the coordination and organization of efforts among “plaintiff`s”’ counsel, appointment of Interim
Lead Counsel for “plaintiffs”, appointment of a “Plaintiffs’ Steering Committee,” appointment of
a “Liaison Counsel” for “defendants,” inspection and testing of evidence collected from The
Station site, and leave to take depositions for the ostensibly limited purpose of identifying
potential defendants for later lawsuits. See Super. Ct. Docl<et, Tab Nos. 5, 6, 8, lO, ll, 22, 23,
25, 2? and 35. 3

9. On July 29 and 30, some of the Removing Parties were served with deposition
subpoenas, bearing the caption of the three Miscellaneous Petitions, Which seek testimony and
the production of various documents on a wide range of subject matters. The service of these
subpoenas was the first time the Miscellaneous Petitioners ever served McLaughlin & Moran or
Anheuser-Busch with any pleading or paper in the state court proceedings (Similar depositions
Were noticed on other parties as well, including Manic Music Management, inc., Strawberries,
Rhode Island, Inc. and Derco, LLC.) These subpoenas and deposition notices are attached as
Exhibit B.

lO. As a result of: (l) the various Superior Court orders which have transformed

discrete actions for the collection and preservation of evidence into much broader civil actions;

 

3 Pursuant to Local Rule 36 and Genel'al Order 2003-01, the Removing Parties Will submit a certified copy of the
State Court Docket Sheet, together with tabbed and numbered certified copies of the documents filed with the
Superior Court, To minimize the number of` attachments to this Petition, Removing Parties will refer to Docket Tab
Numbers from the Superior Court record where possible.

 

 

 

 

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and (2) the service of subpoenas and various deposition notices, the Removing Parties file the
instant Notices of Removal to bring these so-called Miscellaneous Petitions before this Court to
secure coordinated and efficient resolution of discovery and pretrial proceedings in the various
pending and fiiture actions and the hill and complete participation of all interested parties.

ll. The Federal Court is the only court that can consolidate and hear all the
lawsuits presently filed, and to be filed, in various state and federal courts arising out of The
Station fire. All of the litigants - Plaintiffs and Defendants alike ~ are entitled to the benefits of
the new system envisioned by the MMTJA,

THE MISCELLANEOUS PE'I`ITIONS

12. The first miscellaneous petition, ln Re: The Station Fire, M.P. No. 03-1326,
is the subject of this Notice of Removal. It was filed in Providence County Superior Court on
March l4, 2003 on behalf of three named petitioners, Luis F. and Mary A. Alves, citizens of
Rhode Island and parents of Louis S. Alves who died in the fire, and Robert W. Rager, a citizen
of Ohio who was allegedly injured in the fire. See Super. Ct. Docket, Tab No. l.

13. The second miscellaneous petition, In Re: The Station Fire, M.P. No. 03-
1346 is the subject of a simultaneously filed Notice of Removal. It was filed in Providence
County Superior Court on March l?, 2003 on behalf of six parties: (l) Judith O’Brien, a citizen
of Rhode Isla_nd and mother of` Robert Reisner who died in the fire; (2) Lawrence Ficl<, a citizen
of Michigan, as father and guardian of Samantha and William Fick, the minor children of
Charlene Fick who died in the fire; (3) Deborah Lemay, a Rhode Island citizen; (4) Claire
Bruyere, a citizen of Rhode island, and the mother of Bonnie Hamlin who died in the fire; (5)
Nancy Lee, a citizen of Rhode Island and mother of Christopher Prouty Who died in the fire; and

(6) Michael Perreault, a citizen of Rhode Island.

 

 

 

 

 

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l4. Both Miscellaneous Petitions filed on behalf of fire victims state that the
petitioners intend to prosecute civil claims for wrongful death and personal injuries arising out of
The Station fire. See Supr. Ct. Docket, Tab No. 1.

15. No adverse parties were named in the above two petitions. Further,
Petitioners have never served the Removing Parties with a summons or a copy of the Petitions,
nor With any pleadings in these matters (except the above-referenced subpoena).4

l6. These two petitions originally sought an order allowing their experts to enter
upon the site of The Station nightclub fire to conduct a forensic fire investigation and permitting
a subpoena duces tecum to television station WPRI for a copy of video recordings of The
Station. Super. Ct. Docket, Tab No. l.

l'?. The third Miscellaneous Petition, In Re: The Station Fire, M.P. No. 03-1431,
is also the subject of a simultaneously filed Notice of Removal. lt Was filed in Providence
County Superior Court on March 20, 2003 on behalf of certain unknown and unnamed
manufacturers who allege they may be subject to fiiture litigation.

18. The third Miscellaneous Petition, likewise, named no defendants, nor was it
served on the Removing Parties. This Miscellaneous Petition sought as relief only “that the
Court enter an order allowing access to the fire scene under the same requirements and
procedures as potential plaintiffs and any other party.”

l9. The inspection of The Station site, and the collection and safeguarding of
evidence collected from that site, have been completed. rl_`he Superior Court abandoned control

of the site on May 6, 2003. The evidence collected from the site is stored in a secured

 

4 Plaintiffs’ Lead Counsel have frequently commented - both in legal filings and in statements to the media - that
they have identified many potential Defendants, But plaintiffs‘ Lead Counsel have persistently eschewed naming
any defendants in the Miscellaneous Petitions.

 

 

 

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warehouse See Super‘ Ct. Docket, Tab Nos. 5, 8 and 20. Nonetheless, the state court

Petitioners continued to seek further diverse relief.

20. All of the Superior Court matters are being handled at the same time and in
the same way by the Hon. ludge Alice Gibney, who acts pursuant to an Administrative Order
issued by Hon. Presiding Justice Joseph Rodgers, Jr. on March 4, 2003.5 Acting under this order,
Judge Gibney has issued a series of Case Management Orders, each of Which applies to all
“causes” - filed and unfiled alike.6

2l. On May 9, 2003, the Superior Court entered its “Pretrial Order No. 1
(Preliminary Case Management Order),” Super. Ct. Docket, Tab No. 22, to establish a
“preliminary structure and case management procedure” as “the case presents the likelihood of
significantly complex litigation.” T hat Order stated that:

This order shall apply to and govern all pending actions, petitions

relating to or arising from the February 20, 2003 Station fire as

well as any actions that may be filed in the firture.

That Case Management Order appointed Interim Lead Counsel for the potential plaintiffs lt also

appointed an Interim Liaison Counsel for “def`endants.” The Removing Parties do not know who

 

s That Order reads in toto:

ln re: LITIGATION AS A RESULT OF THE FIRE AT THE STATION IN WEST WARWICK
ON FEBRUARY 20, 2003

ASSIGNMENT OF IUSTICE FOR MUL'I`I~CASE MANAGEMENT
AH stick causes efaet_ion filed in the Superior Court are assigned to the Honorable Alice
Bridget Gibney in Providence for the purpose of managing, supervising, scheduling and disposing

of any and all pre-trial motions pertaining to such causesl

Ms. Justice Gibney is empowered to issue special orders for the due administration of
these causes of action [emphasis added]

6 'l`he Superior Court Case Management Orders bear a single caption which includes the several Miscellaneous

Petition Numbers. It appears that no Motion to Consolidate was ever filed, apparently because Judge Rodgers’
order was considered a sufficient basis to include automatically any Station-related case of any kind

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the “Liaison Defense Counsel” appointed by the Court represents or whether and to what extent
that party’s interest may align or diverge with theirs. Liaison Defense Counsel’s client has yet to
be sued in the Superior Court and, accordingly, he is not authorized to divulge the identity of his
client.

22. As part of their investigatory efforts, lnten`m Lead Counsel for “plaintif`fs”
sought to serve certain deposition notices on various officials and entities connected to the Town
of West Warwicl<. The Town obj ected. See Super. Ct. Docket, Tab Nos. 2'}', 29 and 30.

23. On lune 25, 2003, the Superior Court issued a written decision in the
Miscellaneous Petitions authorizing the pre-filing depositions of the Town, but only after the
adoption of a “Discovery Plan.” That decision is attached as Exhibit C.

24. hr that decision, the Superior Court held:

- “'I`his Court considers the potential plaintiffs as parties to this litigation

This Court will continue to exercise jurisdiction over this litigation until it
is instructed otherwise”;

- “... discovery is necessary and is the next logical step...”;

- “.._. a discovery plan should be in place before proceeding with such
discovery.. .”;

- “Rule 26(f) requires a meeting of counsel for the purpose of
developing a discovery plan for submission to the court...”;

- “As soon as the discovery plan is in place, the requirements of Rule 26,
including those with regard to conferring with the affected parties prior to
filing with this court to resolve disputed issues of discovery, will
necessarily be in full effect.”

(Emphasis added.)

25. Thereafter, pursuant to that written decision, on luly 14, 2003 the Superior

Court entered an Order captioned “lnterim Pretrial Discovery Plan,” attached hereto as Exhibit

 

 

 

 

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D, to allow for “limited discovery until its adoption and approval of a Pretrial Discovery Plan.”
That order states, in part, that:

depositions shall be conducted only for the stated purpose of

obtaining documents and related items. Therefore, only questions

related to the identity of documents, their location and effort made

to locate them, and to determine the identity of potential

defendants are permitted and no other testimony will be asked for

or elicited without further order of this court. (Emphasis added.)

26. Pursuant to that order, some of the Removing Parties (McLaughlin & Moran
and Anheuser-Busch, lnc.) were served with subpoenas to appear at depositions to be taken in
furtherance of filing lawsuits stemming from The Station fire. See Exhibit B. Deposition
notices were issued concerning other parties as well. See Exhibit B.

2?. These subpoenas call for testimony concerning and the production of, among
other things, the following:

- contracts relating to The Station and the Great White concert;

- contracts and communications among and between the various Removing
Parties, other entities, Great White or The Station;

- documents relating to the Great White concert of
February 20, 2003;

- documents relating to other concerts at The Station;

- documents reflecting expenses incurred in connection with the Great
White concert;

- documents identifying the identities of employees who participated in the
promotion of the Great White concert;

- documents respecting the Removing Parties’ prior knowledge of Great
White’s use of pyrotechnics; l

- indemnity contracts; and

- contracts of insurance

 

 

 

 

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In short, the subpoenas seek the types of records and information plaintiffs would seek in a civil
action seeking recovery for injuries from The Station tire.

28. On July ll, 2003, the Superior Court entered a second order attached hereto
as Exhibit E. That eight-page order sets forth so called “Protocols” for “Testing and Evidence
Handling” ~ including possible destructive testing - of materials collected from The Station fire
site.

29. Amongst the provisions in this second Ju]y llth order are:

0 provisions for possible removal, modification, assembly,
disassembly or destructive testing of samples, even if “there will
not be left a sufficient sample to perform the same or similar test at
a later time”;

0 a restriction allowing only parties who have disclosed their
identities in the State Court Miscellaneous Petition proceedings to
participate in testing; and

¢ a restriction on sharing information obtained from the warehouse
with any lawyer who has not agreed to participate in the funding
mechanisms previously adopted by the Superior Court.

The Related Original Federal Court Actions

30. The Removing Parties are presently parties in Passa v. leffrev Derderian, et

 

gL, C.A. No. 03~148lL, pending before ludge Lagueux. The Passa action was originally filed in
this Court on April 22, 2003 on behalf of three plaintiffs, ltwo of whom were injured in the fire
and a third whose husband died in the fire. Subj ect matter jurisdiction in the P_asg action is
based on 28 U.S.C. § 1369.

31. On June 5, 2003, a second original federal court action was filed in the
United States District Court for the District of Connecticut, Henault v. Arrreriean Foam1
03CV00999DJS, seeking damages for injuries resulting from the fire. The Removing Parties

were named and served in that action. Other named defendants in that action include: Arnerican

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Foam Corporation; Barry H. Warner; Triton Realty; the Derderians and Derco; Manic Music
Management; Great White band members; Knight Records; Luna Tech, lnc. and Luna Tech
Pyrotechnic, GmbH; Citadel Comrnunications', Shell Oil Company and its subsidiary Motiva
Enterprises, LLC; the Town of West Warwick; the State of Rhode Island; and various state and
local inspection officials. Relevant pages of that lengthy complaint are attached hereto as
Exhibit F.
The Removed State (Q\_ig Cases

32. On March 10, 2003 plaintiff, Ronald Kingsley, for Zoe .l can Kingsley, a
minor, and the beneficiaries of decedent Lisa Kelly, filed an action seeking damages for the
death of Lisa Kelly at The Station on February 20, 2003.

33. On May 30, 2003, Anheuser-Busch removed the Kingsley action to this
Court, McLaughlin & Moran joined in that Notice of Removal on J unc 30, 2003. That case is
pending before Judge Lagueux, docketed as C.A. No. t)?)-C\r’-ZOS/L.-'f Clear Channel
Cornmunications, Inc. is also a named party in that proceeding

SUBJECT MATTER .]URISDICTION

34. This Court has jurisdiction over these Miscellaneous Petitions under the

newly enacted Multiparty, Multiforurn Trial Jurisdiction Act of 2002 (“MMTJA”), that became

effective on January 31, 2003. The MMTJA vests federal courts with original jurisdiction over

 

1 On May 30, 2003, Anheuser-Busch also removed to this Court an action filed by Joseph K. Kinan And Maureen
Sullivan, As Mother And Next Friend OfThe Minor Kaitlin E. Sullivan. Howevcr, on July ?, 2003, plaintiffs
voluntarily dismissed that action, C.A. No. 03-CV-20'HL, without prejudice.

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actions involving a single accident at a discrete location resulting in the death of at least 75
persona 28 U.s.C. § 1369 (2003).3

35. This Court has subject matter jurisdiction over these petitions under Section
l369(a) which provides that:

The district courts shall have original jurisdiction of any civil

action involving minimal diversity between adverse parties that

arises from a single accident, where at least '?5 natural persons

have died in the accident at a discrete location, if (l) a defendant

resides in a State and a substantial part of the accident took place

in another State or other location, regardless of whether that

defendant is also a resident of the State where a substantial part of

the accident took place; (2) any two defendants reside in different

States regardless of whether such defendants are also residents of

the same State or States; or (3] substantial parts of the accident

took place in different States.
23 U.s.C. § 1369(3)(1)-(3) (2003).°

36. Minimal diversity exists in these Misce]laneous Petitions because: (l) they
are filed on behalf of petitioners from Ohio and Rhode Island; and (2) McLaughiin & Moran is a
citizen of Rhode Island, Anheuser-Busch, Inc. is a citizen of Missouri, Clear Channel is a citizen
ofNevada, and many of the already named and potential defendants come from a variety of
different states. For cxarnple, of the defendants already named in the pending lawsuits: the band
Great White, their tour manager, and their record company are California citizens; the alleged
manufacturers of the pyrotechnics, Luna Tech, Inc. and its parent company, Luna Tech

Pyrotechnik Gran, are alleged to be citizens of Alabama and Germany, respectively; Shell Oil

Company’s subsidiary, Motiva, Inc. is a citizen of Texas; Citadel Communications, Inc. is

 

3 The purpose of the MM'I`JA is to create a mechanism by which all actions of this type can be resolved together in a
single federal forum. House Conjérence Report 107~685; Puhlic Law 107-273, Sec. 11020; Multiparty, Multiforum
Trial Jurisdiction Act of 2002.

9 Section 1369(b), which requires the Court to abstain in certain specified circumstances does not apply here because
of, among other things, the varied citizenship of the parties involved

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alleged to be a citizen of Nevada; and Strawberries, Inc. is incorporated in Delaware with a
principal place of business in Massachusetts.

37. Jurisdiction in this Court is proper under two of the three independent bases
set forth in § 1369(a). The requirement of § 1369(a)(1] is satisfied because the residency of two
of the Removing Parties, Anheuser-Busch and Clear Channel, are residents of states different
from the state where a substantial part of the accident occurred.

33. ln addition, Section l369(a)(2) is satisfied because at least two of the
Removing Parties (and also the already named or identified defendants) reside in different states.

REMOVAL AUTHORITY

39. The Federal Court thus being vested with original jurisdiction, this action is
removable under 28 U.S.C. § 1441(6)(1) which provides for removal if:

(A) the action could have been brought in a United States court

under section 1369 [of title 28]; or (B) the defendant is a party to

an action which is or could have been brought, in whole or part,

under section 1369 in a United States district court and arises from

the same accident as the action in the State court, even if the action

to be removed could not have been brought in a district court as an

original matter.

40. Removal is proper under Section 1441 (e)(l)(A) because the parties to the
Miscellaneous Petitions could have originally brought suit in federal court under Section 1369.

41. Removal is also independently proper under Section l441(e)(1)(B) because
the Removing Parties are parties to two suits - Passa and Henault - which assert jurisdiction
under Section 1369 and arise out of the same accident as the Miscellaneous Petitions.

42. Further, targets of discovery may remove pre-filing petitions seeking

discovery where the underlying cause of action would be subject to removal, w, §g, Dublin

Worldwide Productions (USA), lnc. v. JAM Theatricals Ltd., 162 F.Supp. 2d 275 (S.D.N.Y.

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2001); Carrvn v. Real Parties in Interest. 110 F.Supp. 2d 514 (E.D.Tx. 2000); Christian Klein &

 

Logbura v. NASD, 9?`0 F.Supp. 2?`6 (S.D.N.Y. 1997). M §§§, gg, Manhasset Office Group v.
Bangue Worins, 1988 U.S.Dist. LEXIS 10'1'46 (E.D.N.Y. 1988).

43. Further, via its prior orders, the Superior Court has declared that the same
principles, rules and orders now apply both to all pending and any future Superior Court civil
actions, including these Miscellaneous Petitions. The Superior Court has drawn no distinction
between traditional lawsuits and the Miscellaneous Petitions. Likewise, the MMTJA - federal
legislation enacted specifically to address this type of litigation ~ draws no distinction Rather, it
expands removal practice to allow for the removal of actions “even if the action to be removed
could not have been brought in a district court as an original matter.” 28 U.S.C. § 1441 (e)(l )(B).

44. This Notice of Removal is timely under Sections l44l(e) and 1446 as the
Removing Parties served with subpoenas were served on July 29 and 30, 2003.

45. Because the United States District Court is the single appropriate w and the
only possible - forum where the entire Station fire litigation can to be comprehensively managed
and resolved, the Miscellaneous Petitions should be before this Court.

46. The plain language of § l44l(e) vests the right of removal in “a defendan ” in
the singular and thus allows any single defendant to remove without requiring the consent of any
other defendants.

COMPLIANCE WITH PROCEDURAL REOUIREMENTS

4?. Pursuant to Rule 36 of the Local Rules of the District of Rhode Island for the
United States District Court, the Removing Parties will file within the next ten days a certified
copy of all state court docket entries and certified copies of all state court records and

proceedings

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Notice of Removal.

available defenses.

of Removal.

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48. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is also
being filed with the Clerk of the Superior Court of Providence County, Rhode Island and the
Removing Parties will also promptly give written notice to other parties of the filing of this

49. By removing this action to this Court, the Removing Parties do not waive any

50. The Removing Parties reserve the right to amend or supplement this Notice

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Dated: August 7 , 2003

 

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